Case 2:18-cr-00118-MLCF-JVM Document 107 Filed 08/07/19 Page 1 of1

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA CRIMINAL
VS NO: 053L 2:18CR00118-004
Wayne Andrews SECTION: F

MOTION AND ORDER CONTINUING SENTENCE

Now comes Tamika M. Jackson, United States Probation Officer, and moves the Court for an
order continuing the sentence in the above matter, which is set for August 4, 2019. A continuance
will allow time for the parties to review the presentence report and file any necessary objections.
Neither the defense counsel nor the Assistant United States Attorney have any objections to this

continuance. Therefore, the probation officer moves the Court to continue sentencing for 45 days.

Parner M Faacin—
Tamika M. Jackson
USS. Probation Officer

ORDER +
Considering the foregoing, it is ordered that the sentencing POM set for August J, 2019, be

 

   
